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                 Exhibit 2
            Case: 1:20-cv-07286 Document #: 1-2 Filed: 12/09/20 Page 2 of 4 PageID #:52




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                                      Copyright Office Catalog is available. More.




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Search Request: Left Anchored Copyright Number = RE0000738848
Search Results: Displaying 1 of 1 entries




                    Colorful world of Snoopy, Linus, Schroeder, Lucy and Charlie Brown.

              Type of Work: Text
Registration Number / Date: RE0000738848 / 1996-11-21
                              Renewal registration for: A00000095985 / 1968-10-01
                       Title: Colorful world of Snoopy, Linus, Schroeder, Lucy and Charlie Brown.
       Copyright Claimant: Charles M. Schulz (A)
             Basis of Claim: New Matter: drawing.
                     Names: Schulz, Charles M.




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Copyright Catalog (1978 to present)
Search Request: Left Anchored Copyright Number = B00000197759
Search Results: Displaying 2 of 2 entries




                                      United Feature comics. Vol. 38, no. 7.

              Type of Work: Text
Registration Number / Date: RE0000921618 / 2005-09-20
                             Renewal registration for: B00000197759 / 1977-02-18
                      Title: United Feature comics. Vol. 38, no. 7.
       Copyright Claimant: United Feature Syndicate, Inc. (PCW)
                     Names: United Feature Syndicate, Inc.




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Copyright Catalog (1978 to present)
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                              Peanuts; sculpture. By Determined Productions, Inc.

              Type of Work: Visual Material
Registration Number / Date: RE0000753956 / 1997-04-08
                              Renewal registration for: GP0000059162 / 1968-01-12
                       Title: Peanuts; sculpture. By Determined Productions, Inc.
                      Notes: Stuffed dog resembling the Peanuts cartoon character Snoopy.
       Copyright Claimant: United Feature Syndicate, Inc. (PWH)
            Copyright Note: C.O. correspondence.
                Variant title: Peanuts
                     Names: Determined Productions, Inc.
                               United Feature Syndicate, Inc.




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